                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


    IAN HUNTER LUCAS,                                      )
                                                           )
          Plaintiff,                                       )
                                                           )          NO. 3:24-CV-01359
    v.                                                     )
                                                           )          JUDGE RICHARDSON
    VANDERBILT UNIVERSITY, ET AL.,                         )
                                                           )
          Defendants.                                      )


                                                      ORDER

         As explained in the Court’s prior order (Doc. No. 27), this case was dismissed upon the

Plaintiff’s filing of a notice of voluntary dismissal pursuant to Rule 41(a)(1)(A)(i), and this case is

closed. 1 The motion to disqualify Judge Eli J. Richardson (Doc. No. 29), filed by Plaintiff, is thus

moot, and the Clerk’s Office is directed to terminate it. The case remains CLOSED.

         IT IS SO ORDERED.

                                                                ___________________________________
                                                                ELI RICHARDSON
                                                                UNITED STATES DISTRICT JUDGE




1
  Plaintiff’s objections (Doc. No. 28) to the Court’s order dismissing the case are not cognizable and thus will not be
reviewed by the Court; the Court expresses no opinion on whether those objections serve some proper purpose in
connection with “any future proceedings or appellate review.” (Doc. No. 28 at 3).




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